                                                                                Motion GRANTED.

                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
           v.                                 )       NO. 3:10-cr-00254
                                              )
ROGELIO VILLAR                                )       JUDGE TRAUGER


                                  MOTION TO WITHDRAW

       The United States of America respectfully requests this Court to relieve undersigned counsel

as counsel of record for the United States. This case was reassigned to Assistant United States

Attorney J. Alex Little, who will be the lead attorney.

       Wherefore, the United States respectfully requests that this Court grant the above motion and

relieve undersigned counsel.

                                              Respectfully submitted,

                                              JERRY E. MARTIN
                                              UNITED STATES ATTORNEY


                                              s/ Blanche B. Cook
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